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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LVMH SWISS MANUFACTURES SA and
HUBLOT SA,                                          Case No. 18-cv-06067

               Plaintiffs,                          Judge Charles P. Kocoras
v.
                                                    Magistrate Judge M. David Weisman
XIONGAI LONG, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs LVMH

Swiss Manufactures SA (“Tag Heuer”) and Hublot SA (“Hublot”) (together, “Plaintiffs”), hereby

dismiss this action with prejudice against the following Defendants:

              Defendant Name                                       Line No.
            Centuries watch shop                                      77
       Shenzhen Top Good Watch Store                                 102
         SHINNING WATCH Store                                        103
             Shop4351001 Store                                       134

Dated this 28th day of November 2018.        Respectfully submitted,


                                             /s/ Allyson M. Martin_____________
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                                             Justin R. Gaudio
                                             Allyson M. Martin
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